














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


				




NO. PD-1224-11





PAVIELLE SIMPSON, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


 FROM THE SECOND COURT OF APPEALS


TARRANT COUNTY






	Per curiam.  Keasler and hervey, JJ., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.5,
because the petition is longer than fifteen (15) pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.


En banc.


Delivered:   September 21, 2011

Do Not Publish.


